    Case 1:09-cv-00597-LMB-TCB Document 215 Filed 10/29/10 Page 1 of 1 PageID# 2851



         Date: )o/aq//7>                                            D ^
                                                             Judge: &irik£42o^_
         Start: Jo', ff^                                   Reporter Jjfiga^sQ^l
         Finish: p ', ^5^\

      Civil Action Number: \',QQ>awfi<Zq


     Appearances ofCounsel for(\/ )Pltf\ )Deft
     (     ) Matter is uncontested
     Motion to/for:




    Argued &
\( )Granted ( )Denied ( )Granted in part/Denied in part
    CV) Taken Under Advisement ( ) Continued to




( ) Report and Recommendation to Follow
(    ) Order to Follow
